Case 3:02-cr-30043-RGJ-KLH             Document 602         Filed 04/04/08    Page 1 of 2 PageID #:
                                              1919




                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                        MONROE DIVISION

 UNITED STATES OF AMERICA                                       Cr. A. No. 02-30043-06

 VERSUS                                                         JUDGE ROBERT G. JAMES

 THOMAS NATION                                                  MAG. JUDGE KAREN L. HAYES


                                                    ORDER

         Because of the recent revision to the base offense levels for crack cocaine, Section 2D1.1 of

 the United States Sentencing Guidelines, this matter will be considered for re-calculation of sentence

 pursuant to 18 U.S.C. § 3582(c)(2). All cases falling under 18 U.S.C. § 3582(c)(2) will be considered

 in order of the current release date of each defendant, with the cases of those defendants who are

 closest to their release dates considered first.

         IT IS ORDERED that the Office of the Public Defender is appointed to represent all

 defendants who are potentially affected by the revisions to the Sentencing Guidelines on crack

 cocaine. If a defendant retains private counsel, that counsel should enroll immediately and will be

 subject to the provisions of this Order.

         Having reviewed the Probation Office’s re-calculation of the applicable Guideline range of

 imprisonment and the record in this matter, including the Pre-Sentence Report, the Court intends to

 issue an amended judgment reducing Defendant Thomas Nation’s term of imprisonment. Defendant

 was sentenced to 151 months on Counts 1, 18, and 19, to run concurrently. The Court intends to

 reduce Defendant’s term of imprisonment to 121 months on Counts 1, 18, and 19, to run concurrently.

 Therefore,

         IT IS FURTHER ORDERED that the United States Attorney’s Office and the attorney
Case 3:02-cr-30043-RGJ-KLH            Document 602         Filed 04/04/08      Page 2 of 2 PageID #:
                                             1920




 representing the defendant shall file within 60 days of their receipt of this Order a notice stating (1)

 whether a hearing is requested or waived and (2) whether there are any objections to the re-calculation

 and/or to the Court’s proposed term of imprisonment.

        It is the intent of the Court to address every defendant potentially affected by these Guideline

 revisions and to do so in as prompt a manner as possible.

        MONROE, LOUISIANA, this 4th day of April, 2008.




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